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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 JOHN DOE #1, JANE DOE #2, JOHN
 and JANE DOE #3 THROUGH #50,

                        Plaintiffs,
                                                Case No. 19 Civ. 6660 (LGS)
        v.

 THE COLLEGE BOARD,

                        Defendant.


               NOTICE OF DEFENDANT’S MOTION TO STAY LITIGATION
                  PENDING ARBITRATION PURSUANT TO 9 U.S.C. § 3

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support of

the Motion to Stay Litigation Pending Arbitration Pursuant to 9 U.S.C. § 3, the College Board moves

this Court, before the Honorable Lorna G. Schofield, in Courtroom 1106, at the Thurgood Marshall

United States Courthouse, 40 Foley Square New York, New York 10007, on a date and time to be

determined by the Court, for an order pursuant to 9 U.S.C. § 3, staying this action pending arbitration,

and granting any such further relief as this Court deems just and proper.


Dated: New York, New York                         Respectfully submitted,
       August 21, 2019
                                                  /s/ Alan E. Schoenfeld
                                                  Alan E. Schoenfeld
                                                  Adam Amir
                                                  WILMER CUTLER PICKERING
                                                     HALE AND DORR LLP
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                                                  Bruce M. Berman
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